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                               NORTHERN DISTRICT OF ILLINOIS                                       cltrDygtuAStl
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(fuII ruame of plaintiff or petitiorcr)                           APPLICATION TO PR,OCEED
                                                                  IiUrfTIfr^lf ff lrDrD        a/nt^   rF^      ^s
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                                                                    1:23-cv{10599
-Tonr De.'r                                                       Judge John J- TharP, Jr
                         , 0 Fc R"ur.s,                           Magisrate Judge Gabriel A' Fuentes
                                                                  PC3
                                          Rot;.'s.,x                RANDOTTII


Ingtrqctions: Please answer every question. Do not leave blanks.
                  If the answer is "0n ot "none," say so.

                  If you are in custody, you are zubject to the Prison Litigation Reform Act ("PLRA"). The
                  PLRA requircs all pretrial detainees and prisoners to pay the filing fee. If you cannot pay
                  the full filing fee at this time, you may seek leave to proceed in forma paupris. A prehial
                  debinee or prisoner who proceeds in fomwpaupris pays the full filing fee over time, with
                  monthlyirutallmerts taken fromhis or her kustfund account.

Application- I am the plaintiff / petitioner in this case. I believe that I am entifled to the relief I art
requesting in this case- I art providing ihe fonowing information under penalty of perjury in support of
my request (check all that appiy):
         X ,o prr""" d.in formapaaperis (IFP) (without prepaying fees or costs)
         X,o request an attomey

1. Areuouin atstodu? X Yo                        No
                                               Nameofjailorprisoru C""5                C   rrnk/ bepo oF                  C'o116<.Iior\s
    Do you receive any payment from this institution?                Yes       X-o,'
    If nYes." how much oer month?         $-                  -
2. Otlw surczs of incuae / money; For the past 12 months, tist the amount of money that you have
    received from any of ihe following sources:
                                                                                     Qist tful2-month total for eacl)
    Self-enployment, business, or profession:                                      SU
    hrcome from interest or dividends:                                             $o
    krcome from rent payments:                                                     $o
    Pensions, annuities, or life insurance:                                        $o_
    Disability or worker's compersation:                                           $o
    Gifb:
    Deposits by others into your jail or prison accrcu-nt
    Uneurploymen! public assistance, or welfare:                                   $o
    Settlements or judgments:                                                      $           O                                           i


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3.   ewh and ba*_rccounts; Do you have any money in cash or in a dedcing or savinp
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     Olhs assets: Do you have an interest in any real estah (including your home), stocks, bonds, other
     securiti€s, retirement plars, autsmobiles, jewelry, or other valuable property (not including ordinary
     household fumishingp and dothing)?                  Yes -X. No
                                                     -
     If yes, list each itrlm of property and state its approcimate value:




     Depndents: Is anyone dependent on you for      zupport?                Yes X No
                                                                      - relationship to you; artd how
     If yes, please list their names (for minor childreru use only initials);
     much you and,/ or your spouse contribute toward their zupport each month:




6- Debts andfi:nancial obligations: List any amounts               to others:




Declaration: I dedare under penalty of perjury that all of the informationlisted above is true and correcl
I understand that a fdse statemmt may resutt in dismissal of my daims or other sanctions.


Date: l2 -ll
                  -2022
                                                                            Applicantts


                                                                                Pintedname

NOTICE TO PRISONERS: In addition to the CertificaE below, you must attach a print-out from the
irstitution(s) where you have beenin cirstody during ttre last six months showing atl recerp+s,
expenditures and balances in your prison or jail trust fund accounts during that period. Because tlle law
requires infonnation as to zuch accourrts covering a fuI1 six mont}s before you tr,ave filed your lawzuit,
you must attach a sheet covering taruactioru in your own account - prepared by each institution where
you have been in custody during that six-month period. You must also have the Certificate below
completedby an authorized officer at each institution

                               CERTIFICATE (Incalcerated apptcants only)
                            (To be completed by the institution of incarceration)

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 certify that during the past the applicant" *ru[ monthly deposit was $ i'7O, DD
 (Add all deposits ftom all sources and thm divide by the number of                  )

 Date: 171 B l:"
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